                                                           Case 2:20-cv-01842-KJD-DJA Document 10 Filed 11/02/20 Page 1 of 3



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                                                       3
                                                           Las Vegas, Nevada 89106
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                                                       5   Attorneys for Plaintiffs CS-Entities
                                                       6                               UNITED STATES DISTRICT COURT
                                                       7
                                                                                              DISTRICT OF NEVADA
                                                       8

                                                       9   Coyote Springs Investment LLC, a Nevada Case No. 2:20-cv-01842-KJD-DJA
                                                           Limited Liability Company, Coyote Springs
                                                      10   Nevada LLC, a Nevada limited liability
                                                      11   company, and Coyote Springs Nursery LLC,
                                                           a Nevada limited liability company,        STIPULATION AND ORDER TO
COULTHARD LAW, PLLC
                      840 South Rancho Drive #4-627




                                                      12                                              EXTEND DEADLINE FOR PLAINTIFFS
                        Las Vegas, Nevada 89106




                                                                              Plaintiffs,             TO SUBMIT OPPOSITION TO THE
                                                      13          v.                                  MOTION TO DISMISS AND FOR
                             (702) 989-9944




                                                                                                      DEFENDANTS TO FILE THEIR REPLY
                                                      14   STATE OF NEVADA, on relation to its THERETO.
                                                      15   Division of Water Resources, Department of
                                                           Conservation and Natural Resources, Tim First Request
                                                      16   Wilson, Nevada State Engineer; and Does I
                                                           through X.
                                                      17
                                                                              Defendants.
                                                      18

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                                                      21          IT IS HEREBY STIPULATED between Plaintiffs COYOTE SPRINGS INVESTMENT

                                                      22   LLC, a Nevada limited liability company, COYOTE SPRINGS NEVADA LLC, a Nevada

                                                      23   limited liability company, and COYOTE SPRINGS NURSERY LLC, a Nevada limited liability

                                                      24   company (collectively the “CS-Entities” and or “Plaintiffs”), by and through their counsel,

                                                      25   William L. Coulthard Esq., of Coulthard Law PLLC, and Defendants STATE OF NEVADA, on

                                                      26   relation to its Division of Water Resources, Department of Conservation and Natural Resources,

                                                      27   Tim Wilson, Nevada State Engineer (“Defendants”), as follows:

                                                      28   …


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                                                       1         1.      This is the parties’ first stipulation for an extension of time to file their motion

                                                       2              papers.

                                                       3         2.      The reasons for the stipulated extension are that the initial electronic service of

                                                       4              the underlying Motion to Dismiss was sent to Mr. Coulthard’s prior firm’s e-mail

                                                       5              address, which resulted in a shortening of Plaintiffs’ time for preparing and filing

                                                       6              their Opposition to Motion to Dismiss, and that the State and its Attorney General’s

                                                       7              Office anticipate to be busier than usual with competing work surrounding the

                                                       8              upcoming general elections and would benefit from an additional week to file the

                                                       9              Reply, if necessary.

                                                      10         3.      Plaintiffs’ time to file their Opposition to Defendants’ Motion to Dismiss shall be

                                                      11              extended to on or before November 2, 2020;
COULTHARD LAW, PLLC
                      840 South Rancho Drive #4-627




                                                      12         4.      Defendants’ time to file their Reply brief in support of their Motion to Dismiss is
                        Las Vegas, Nevada 89106




                                                      13              extended to on or before November 16, 2020.
                             (702) 989-9944




                                                      14         No hearing date has been set on the underlying Motion to Dismiss.

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                                                       1    Dated this ___ day of October, 2020 COULTHARD LAW, PLLC

                                                       2    /s/___Akke Levin_______________    /s/____William L. Coulthard_____
                                                            AARON D. FORD                      William L. Coulthard, Esq. (#3927)
                                                       3
                                                              Attorney General                 Coulthard Law PLLC
                                                       4    Steve Shevorkski (Bar No. 8256)    840 South Rancho Drive #4-627
                                                              Chief Litigation Counsel         Las Vegas, Nevada 89106
                                                       5    Akke Levin (Bar No. 9102)          (702) 989-9944
                                                              Senior Deputy Attorney General   wlc@coulthardlaw.com
                                                       6    Kiel B. Ireland (Bar No. 15368C)   Attorney for Plaintiffs CS-Entities
                                                              Deputy Attorney General
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                                                            alevin@ag,nv.gov
                                                      10    kireland@ag.nv.gov
                                                      11    Attorneys for Defendants
COULTHARD LAW, PLLC
                      840 South Rancho Drive #4-627




                                                      12
                        Las Vegas, Nevada 89106




                                                      13                                         ORDER
                             (702) 989-9944




                                                      14                                          IT IS SO ORDERED:
                                                      15                                          UNITED STATES DISTRICT COURT JUDGE
                                                      16

                                                      17                                                  10/30/2020
                                                                                                  DATED:______________________________
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